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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

                                                 *
PFLAG, INC., ET AL.,
                                                 *
       Plaintiffs,
                                                 *
v.
                                                 *         Civil No. 25-337-BAH
DONALD J. TRUMP ET AL.,
                                                 *
       Defendants.
                                                 *
*      *       *      *      *       *       *       *     *       *       *         *       *   *

                                            ORDER

       As stated on today’s teleconference, the Court sets the following schedule:

        Tuesday, February 11, 2025               Deadline for Defendants to respond to the
        5:00 p.m.                                motion for a temporary restraining order, ECF
                                                 35, and the motion for leave to proceed under
                                                 pseudonyms, to waive requirement under
                                                 Local Rule 102.2(a) to provide addresses in
                                                 complaint caption, and for a protective order,
                                                 ECF 2

        Wednesday, February 12, 2025             Deadline for Plaintiffs to reply
        1:00 p.m.

        Thursday, February 13, 2025              Motions hearing
        1:00 pm                                  Courtroom 1A
                                                 101 West Lombard Street
                                                 Baltimore, MD 21201



Dated: February 7, 2025                                                   /s/
                                                           Brendan A. Hurson
                                                           United States District Judge
